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                                                                 APPEAL,CLOSED,TYPE−E
                               U.S. District Court
                    District of Columbia (Washington, DC)
               CIVIL DOCKET FOR CASE #: 1:19−cv−02184−TJK
                                Internal Use Only

UNITED STATES OF AMERICA v. FACEBOOK, INC.          Date Filed: 07/24/2019
Assigned to: Judge Timothy J. Kelly                 Date Terminated: 04/24/2020
Cause: 15:0045 Federal Trade Commission Act         Jury Demand: None
                                                    Nature of Suit: 890 Other Statutory
                                                    Actions
                                                    Jurisdiction: U.S. Government Plaintiff
Plaintiff
UNITED STATES OF AMERICA              represented by Katherine M. Ho
                                                     DEPARTMENT OF JUSTICE
                                                     450 5th Street NW
                                                     Washington DC
                                                     202−353−7835
                                                     Email: katherine.ho@usdoj.gov
                                                     LEAD ATTORNEY
                                                     ATTORNEY TO BE NOTICED

                                                    Patrick Raymond Runkle
                                                    U.S. DEPARTMENT OF JUSTICE
                                                    Consumer Protection Branch
                                                    450 5th St., NW
                                                    Suite 6400
                                                    Washington, DC 20001
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                                                    Email: Patrick.r.runkle@usdoj.gov
                                                    LEAD ATTORNEY
                                                    ATTORNEY TO BE NOTICED

                                                    Zachary Cowan
                                                    DOJ−CIV
                                                    P.O. Box 386
                                                    Washington, DC 20044
                                                    202−598−7566
                                                    Email: zachary.l.cowan@usdoj.gov
                                                    LEAD ATTORNEY
                                                    ATTORNEY TO BE NOTICED

                                                    Jason Lee
                                                    U.S. DEPARTMENT OF JUSTICE
                                                    Civil Division, Federal Programs Branch
                                                    450 5th St, NW
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                                                    (202) 514−0515
                                                    Fax: (202) 515−8742


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                                                  Email: jason.lee3@usdoj.gov
                                                  ATTORNEY TO BE NOTICED

                                                  Lisa K. Hsiao
                                                  U.S. DEPARTMENT OF JUSTICE
                                                  450 5th Street, NW
                                                  Suite 6400−South
                                                  Washington, DC 20001
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                                                  ATTORNEY TO BE NOTICED


V.
Defendant
FACEBOOK, INC.                      represented by David B. Toscano
a corporation                                      DAVIS POLK & WARDWELL LLP
                                                   450 Lexington Avenue
                                                   New York, NY 10017
                                                   212−450−4515
                                                   Email: david.toscano@davispolk.com
                                                   LEAD ATTORNEY
                                                   PRO HAC VICE
                                                   ATTORNEY TO BE NOTICED

                                                  James P. Rouhandeh
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                                                  New York, NY 10017
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                                                  Email: rouhandeh@davispolk.com
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                                                  ATTORNEY TO BE NOTICED

                                                  John A. Atchley III
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                                                  Joshua Seth Lipshutz
                                                  GIBSON, DUNN & CRUTCHER, LLP
                                                  1050 Connecticut Ave, NW
                                                  9th Floor
                                                  Washington, DC 20036
                                                  (202) 955−8217
                                                  Email: jlipshutz@gibsondunn.com


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                                          TERMINATED: 06/02/2023
                                          LEAD ATTORNEY
                                          ATTORNEY TO BE NOTICED

                                          Michael Stuart Scheinkman
                                          DAVIS POLK & WARDWELL LLP
                                          450 Lexington Avenue
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                                          212−450−4754
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                                          ATTORNEY TO BE NOTICED

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                                          ATTORNEY TO BE NOTICED

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                                          Dallas, TX 75201
                                          214−698−3159
                                          PRO HAC VICE
                                          ATTORNEY TO BE NOTICED

                                          Orin Samuel Snyder
                                          GIBSON, DUNN & CRUTCHER, LLP
                                          200 Park Avenue
                                          47th Floor
                                          New York, NY 10166
                                          212−351−4000
                                          Fax: 212−351−4035
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                                          TERMINATED: 06/02/2023
                                          PRO HAC VICE
                                          ATTORNEY TO BE NOTICED

                                          Thomas G. Hungar
                                          GIBSON, DUNN & CRUTCHER, LLP
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                                          9th Floor
                                          Washington, DC 20036
                                          (202) 887−3784
                                          Fax: (202) 530−4213
                                          Email: thungar@gibsondunn.com
                                          TERMINATED: 06/02/2023


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                                                 ATTORNEY TO BE NOTICED

Movant
LEONID GOLDSTEIN                   represented by LEONID GOLDSTEIN
                                                  3824 Cedar Springs Rd
                                                  #801−1774
                                                  Dallas, TX 75219
                                                  (408) 921−1110
                                                  PRO SE

Amicus
ELECTRONIC PRIVACY                 represented by Alan Jay Butler
INFORMATION CENTER                                ELECTRONIC PRIVACY
                                                  INFORMATION CENTER
                                                  1519 New Hampshire Ave, NW
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                                                  (202) 483−1140 ext 103
                                                  Fax: (202) 483−1248
                                                  Email: butler@epic.org
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                                                  ATTORNEY TO BE NOTICED

                                                 John L. Davisson
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                                                 INFORMATION CENTER
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                                                 Washington, DC 20036
                                                 (202) 483−1140 ext. 120
                                                 Email: davisson@epic.org
                                                 ATTORNEY TO BE NOTICED

Amicus
CENTER FOR THE                     represented by Stephen R. Klein
LEGALIZATION OF PRIVACY                           BARR & KLEIN PLLC
                                                  1629 K Street NW
                                                  Ste. 300
                                                  Washington, DC 20006
                                                  202−804−6676
                                                  Email: steve@barrklein.com
                                                  LEAD ATTORNEY
                                                  ATTORNEY TO BE NOTICED

                                                 Amy Lynn Peikoff
                                                 3024 E. Chapman Avenue
                                                 #129
                                                 Orange, CA 92869
                                                 (714) 409−8275
                                                 PRO HAC VICE
                                                 ATTORNEY TO BE NOTICED

Amicus

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PUBLIC CITIZEN, INC.                          represented by Adam R. Pulver
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                                                             ATTORNEY TO BE NOTICED

                                                              Rebecca H. Smullin
                                                              CONSUMER FINANCIAL
                                                              PROTECTION BUREAU
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                                                              Washington, DC 20552
                                                              202−435−7546
                                                              Email: rebecca.smullin@cfpb.gov

Amicus
CAMPAIGN FOR A                                represented by Adam R. Pulver
COMMERCIAL−FREE                                              (See above for address)
CHILDHOOD                                                    LEAD ATTORNEY
                                                             ATTORNEY TO BE NOTICED

                                                              Rebecca H. Smullin
                                                              (See above for address)

Amicus
COMMON SENSE MEDIA                            represented by Adam R. Pulver
                                                             (See above for address)
                                                             LEAD ATTORNEY
                                                             ATTORNEY TO BE NOTICED

                                                              Rebecca H. Smullin
                                                              (See above for address)

Amicus
UNITED STATES PUBLIC                          represented by Adam R. Pulver
INTEREST RESEARCH GROUP,                                     (See above for address)
INC.                                                         LEAD ATTORNEY
                                                             ATTORNEY TO BE NOTICED

                                                              Rebecca H. Smullin
                                                              (See above for address)


Date Filed   #   Docket Text
07/24/2019   1   COMPLAINT against FACEBOOK, INC. (Fee Status:Filing Fee Waived) filed by
                 UNITED STATES OF AMERICA. (Attachments: # 1 Exhibit A, # 2 Exhibit B, # 3
                 Exhibit C, # 4 Exhibit D, # 5 Exhibit E, # 6 Civil Cover Sheet)(Hsiao, Lisa) (Entered:
                 07/24/2019)


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07/24/2019    2   Consent MOTION to Approve Consent Judgment by UNITED STATES OF
                  AMERICA (Attachments: # 1 Proposed Stipulated Order for Civil Penalty, Monetary
                  Judgment, and Injunctive Relief)(Hsiao, Lisa) (Entered: 07/24/2019)
07/25/2019    3   ERRATA Complaint by UNITED STATES OF AMERICA. (Attachments: # 1 Exhibit
                  A, # 2 Exhibit B, # 3 Exhibit C, # 4 Exhibit D, # 5 Exhibit E, # 6 Civil Cover
                  Sheet)(Hsiao, Lisa) (Entered: 07/25/2019)
07/25/2019    4   ERRATA re 2 MOTION to Approve Consent Judgment by UNITED STATES OF
                  AMERICA. (Attachments: # 1 Proposed Stipulated Order for Civil Penalty, Monetary
                  Judgment, and Injunctive Relief)(Hsiao, Lisa) Modified to add link on 7/26/2019
                  (znmw). (Entered: 07/25/2019)
07/25/2019        Case Assigned to Judge Timothy J. Kelly. (zeg) (Entered: 07/25/2019)
07/25/2019        SUMMONS Not Issued as to FACEBOOK, INC. (zeg) (Entered: 07/25/2019)
07/26/2019    5   MOTION to Intervene or, in the alternative, MOTION for Leave to File an amicus
                  curiae brief, MOTION for Briefing Schedule to hear from intervenors and interested
                  parties, MOTION for Hearing on parties' motion to approve consent judgment by
                  ELECTRONIC PRIVACY INFORMATION CENTER (Attachments: # 1
                  Memorandum in Support, # 2 Exhibit 1, # 3 Exhibit 2, # 4 Exhibit 3, # 5 Exhibit 4, # 6
                  Exhibit 5, # 7 Exhibit 6, # 8 Exhibit 7, # 9 Exhibit 8, # 10 Exhibit 9, # 11 Exhibit
                  10)(Butler, Alan) (Entered: 07/26/2019)
08/01/2019    6   NOTICE of Appearance by Joshua S. Lipshutz on behalf of FACEBOOK, INC.
                  (Lipshutz, Joshua) (Entered: 08/01/2019)
08/01/2019    7   NOTICE of Appearance by Thomas G. Hungar on behalf of FACEBOOK, INC.
                  (Hungar, Thomas) (Entered: 08/01/2019)
08/01/2019    8   LCvR 26.1 CERTIFICATE OF DISCLOSURE of Corporate Affiliations and Financial
                  Interests by FACEBOOK, INC. (Lipshutz, Joshua) (Entered: 08/01/2019)
08/03/2019    9   MOTION for Leave to Appear Pro Hac Vice :Attorney Name− Orin Snyder, :Firm−
                  Gibson, Dunn & Crutcher, :Address− 200 Park Avenue, New York, New York 10166.
                  Phone No. − 212−351−2400. Fax No. − 212−351−6335 Filing fee $ 100, receipt
                  number 0090−6299037. Fee Status: Fee Paid. by FACEBOOK, INC. (Attachments: # 1
                  Exhibit A, Declaration in Support, # 2 Text of Proposed Order)(Lipshutz, Joshua)
                  (Entered: 08/03/2019)
08/03/2019   10   MOTION for Leave to Appear Pro Hac Vice :Attorney Name− Olivia Adendorff,
                  :Firm− Gibson, Dunn & Crutcher, :Address− 2100 McKinney Avenue, Suite 1100,
                  Dallas, Texas 75201. Phone No. − 214−698−3159. Fax No. − 214−571−2903 Filing
                  fee $ 100, receipt number 0090−6299038. Fee Status: Fee Paid. by FACEBOOK, INC.
                  (Attachments: # 1 Exhibit A, Declaration in Support, # 2 Text of Proposed
                  Order)(Lipshutz, Joshua) (Entered: 08/03/2019)
08/05/2019        MINUTE ORDER granting Defendant's 9 10 Motions for Leave to Appear Pro Hac
                  Vice. Attorneys Orin S. Snyder and Olivia A. Adendorf are hereby admitted pro hac
                  vice to appear in this matter. Signed by Judge Timothy J. Kelly on 8/5/2019. (lctjk1)
                  (Entered: 08/05/2019)
08/05/2019   11   Memorandum in opposition to re 5 MOTION to Intervene or, in the alternative
                  MOTION for Leave to File an amicus curiae brief MOTION for Briefing Schedule to
                  hear from intervenors and interested parties MOTION for Hearing on parties' motion


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                  to approve consent judgment filed by UNITED STATES OF AMERICA. (Hsiao, Lisa)
                  (Entered: 08/05/2019)
08/05/2019   12   Memorandum in opposition to re 5 MOTION to Intervene or, in the alternative
                  MOTION for Leave to File an amicus curiae brief MOTION for Briefing Schedule to
                  hear from intervenors and interested parties MOTION for Hearing on parties' motion
                  to approve consent judgment filed by FACEBOOK, INC.. (Lipshutz, Joshua) (Entered:
                  08/05/2019)
08/12/2019   13   REPLY to opposition to motion re 5 MOTION to Intervene or, in the alternative
                  MOTION for Leave to File an amicus curiae brief MOTION for Briefing Schedule to
                  hear from intervenors and interested parties MOTION for Hearing on parties' motion
                  to approve consent judgment filed by ELECTRONIC PRIVACY INFORMATION
                  CENTER. (Attachments: # 1 Exhibit Proposed Complaint in Intervention)(Butler,
                  Alan) (Entered: 08/12/2019)
08/19/2019   14   NOTICE of Appearance by Jason Lee on behalf of UNITED STATES OF AMERICA
                  (Lee, Jason) (Entered: 08/19/2019)
09/06/2019   15   MOTION to Intervene by LEONID GOLDSTEIN. (ztth) (Entered: 09/09/2019)
09/09/2019   16   NOTICE of Appearance by Patrick Raymond Runkle on behalf of UNITED STATES
                  OF AMERICA (Runkle, Patrick) (Entered: 09/09/2019)
09/12/2019   17   Unopposed MOTION for Leave to File Brief of Amicus Curiae by Center for the
                  Legalization of Privacy (Attachments: # 1 Text of Proposed Order for Leave to
                  File)(Klein, Stephen) (Entered: 09/12/2019)
09/12/2019   18   MOTION for Leave to Appear Pro Hac Vice :Attorney Name− Amy Lynn Peikoff,
                  :Firm− Center for the Legalization of Privacy, :Address− 3024 E. Chapman Ave. #129,
                  Orange CA 92869. Phone No. − 714−409−8275. Filing fee $ 100, receipt number
                  0090−6373347. Fee Status: Fee Paid. by Center for the Legalization of Privacy
                  (Attachments: # 1 Declaration of Amy Lynn Peikoff, # 2 Text of Proposed Order
                  granting pro hac vice admission)(Klein, Stephen) (Entered: 09/12/2019)
09/12/2019        MINUTE ORDER granting, for good cause shown, the 17 Unopposed Motion for
                  Leave to File Amicus Curiae Brief. It is hereby ORDERED that the amicus curiae brief
                  shall be filed by October 15, 2019. Signed by Judge Timothy J. Kelly on 9/12/2019.
                  (lctjk1) (Entered: 09/12/2019)
09/12/2019        MINUTE ORDER granting Amicus Curiae's 18 Motion for Leave to Appear Pro Hac
                  Vice. Attorney Amy Lynn Peikoff is hereby admitted pro hac vice to appear in this
                  matter. Signed by Judge Timothy J. Kelly on 9/12/2019. (lctjk1) (Entered: 09/12/2019)
09/23/2019   19   Memorandum in opposition to re 15 MOTION to Intervene filed by UNITED STATES
                  OF AMERICA. (Hsiao, Lisa) (Entered: 09/23/2019)
09/23/2019   20   Memorandum in opposition to re 15 MOTION to Intervene filed by FACEBOOK,
                  INC.. (Lipshutz, Joshua) (Entered: 09/23/2019)
10/15/2019   21   AMICUS BRIEF re 2 Consent MOTION to Approve Consent Judgment as Amicus
                  Curiae filed by CENTER FOR THE LEGALIZATION OF PRIVACY. (Klein,
                  Stephen) Modified event title on 10/17/2019 (znmw). (Entered: 10/15/2019)
10/15/2019   22   MOTION for Leave to File Brief As Amici Curiae by PUBLIC CITIZEN, CAMPAIGN
                  FOR A COMMERCIAL−FREE CHILDHOOD, COMMON SENSE MEDIA,


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                  UNITED STATES PUBLIC INTEREST RESEARCH GROUP, INC. (Attachments: #
                  1 Exhibit Proposed Brief, # 2 Text of Proposed Order)(Smullin, Rebecca) (Entered:
                  10/15/2019)
10/15/2019   23   ENTERED IN ERROR.....Unopposed MOTION for Leave to File Brief as Amicus
                  Curiae by ELECTRONIC PRIVACY INFORMATION CENTER (Attachments: # 1
                  Proposed Brief, # 2 Text of Proposed Order)(Davisson, John); Modified on 10/16/2019
                  (ztth). (Entered: 10/15/2019)
10/16/2019        NOTICE OF ERROR re 23 Motion for Leave to File; emailed to davisson@epic.org,
                  cc'd 19 associated attorneys −− The PDF file you docketed contained errors: 1. Invalid
                  attorney signature, 2. Please refile document, 3. PACER login and signature must
                  match. (ztth, ) (Entered: 10/16/2019)
10/16/2019   24   Unopposed MOTION for Leave to File Brief as Amicus Curiae by ELECTRONIC
                  PRIVACY INFORMATION CENTER (Attachments: # 1 Proposed Amicus Curiae
                  Brief)(Butler, Alan) (Entered: 10/16/2019)
10/31/2019        MINUTE ORDER granting the 22 Unopposed Motion for Leave to File Amicus Curiae
                  Brief. Neither party has opposed this motion within 14 days and the Court finds that the
                  motion otherwise complies with LCvR 7(o)(2). Therefore, it is hereby ORDERED that
                  the 22 Unopposed Motion for Leave to File Amicus Curiae Brief is GRANTED.
                  Signed by Judge Timothy J. Kelly on 10/31/2019. (lctjk1) (Entered: 10/31/2019)
10/31/2019   25   AMICUS BRIEF by CAMPAIGN FOR A COMMERCIAL−FREE CHILDHOOD,
                  COMMON SENSE MEDIA, PUBLIC CITIZEN, UNITED STATES PUBLIC
                  INTEREST RESEARCH GROUP, INC. (ztth) (Entered: 11/04/2019)
12/10/2019        MINUTE ORDER granting the 24 Unopposed Motion for Leave to File Amicus Curiae
                  Brief. It is hereby ORDERED that the 24 Unopposed Motion for Leave to File Amicus
                  Curiae Brief is GRANTED. Signed by Judge Timothy J. Kelly on 12/10/2019. (lctjk1)
                  (Entered: 12/10/2019)
12/10/2019        MINUTE ORDER: Upon consideration of Defendant's request in its 12 Memorandum
                  in Opposition that the parties be permitted to respond to amici curiae, it is hereby
                  ORDERED that, by January 24, 2020, Plaintiff and Defendant shall each file a brief
                  responding to the arguments presented by all amici curiae. Any additional motions for
                  leave to file a brief as amicus curiae shall be filed by December 17, 2019. It is
                  FURTHER ORDERED that, by January 24, 2020, Plaintiff and Defendant shall each
                  file a surreply addressing EPIC's arguments in its 13 Reply that it has a legally
                  protected interest in this matter under Rule 24(a), as well as Article III standing, by
                  virtue of the two Administrative Procedure Act claims in its [13−1] Proposed
                  Complaint in Intervention. Signed by Judge Timothy J. Kelly on 12/10/2019. (lctjk1)
                  (Entered: 12/10/2019)
12/10/2019   26   AMICUS BRIEF by ELECTRONIC PRIVACY INFORMATION CENTER. (ztth)
                  (Entered: 12/12/2019)
12/11/2019        Set/Reset Deadlines: Any additional motions for leave to file a brief as amicus curiae
                  due by 12/17/2019. (zkh) (Entered: 12/11/2019)
01/24/2020   27   SURREPLY to re 5 MOTION to Intervene or, in the alternative MOTION for Leave to
                  File an amicus curiae brief MOTION for Briefing Schedule to hear from intervenors
                  and interested parties MOTION for Hearing on parties' motion to approve consent
                  judgment filed by UNITED STATES OF AMERICA. (Runkle, Patrick) (Entered:


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                  01/24/2020)
01/24/2020   28   RESPONSE re 26 Amicus Brief, 25 Amicus Brief filed by UNITED STATES OF
                  AMERICA. (Runkle, Patrick) (Entered: 01/24/2020)
01/24/2020   29   SURREPLY to re 5 MOTION to Intervene or, in the alternative MOTION for Leave to
                  File an amicus curiae brief MOTION for Briefing Schedule to hear from intervenors
                  and interested parties MOTION for Hearing on parties' motion to approve consent
                  judgment filed by FACEBOOK, INC.. (Lipshutz, Joshua) (Entered: 01/24/2020)
01/24/2020   30   RESPONSE re 26 Amicus Brief, 25 Amicus Brief, 21 Memorandum in Opposition
                  filed by FACEBOOK, INC.. (Lipshutz, Joshua) (Entered: 01/24/2020)
04/23/2020   31   ORDER denying 5 , 15 Motions to Intervene. See Order for details. Signed by Judge
                  Timothy J. Kelly on 4/23/2020. (lctjk1) (Entered: 04/23/2020)
04/23/2020   32   MEMORANDUM OPINION in support of 31 Order denying 5 , 15 Motions to
                  Intervene. Signed by Judge Timothy J. Kelly on 4/23/2020. (lctjk1) (Entered:
                  04/23/2020)
04/23/2020   33   ORDER granting 4 Consent Motion for Entry of Stipulated Order. See Order for
                  details. Signed by Judge Timothy J. Kelly on 4/23/2020. (lctjk1) (Entered: 04/23/2020)
04/23/2020   34   MEMORANDUM OPINION in support of 33 Order granting 4 Consent Motion for
                  Entry of Stipulated Order. Signed by Judge Timothy J. Kelly on 4/23/2020. (lctjk1)
                  (Entered: 04/23/2020)
04/23/2020   35   STIPULATED ORDER. See Order for details. Signed by Judge Timothy J. Kelly on
                  4/23/2020. (lctjk1) (Entered: 04/23/2020)
05/31/2023   36   NOTICE of Appearance by James P. Rouhandeh on behalf of FACEBOOK, INC.
                  (Rouhandeh, James) (Entered: 05/31/2023)
05/31/2023   37   NOTICE of Appearance by Michael Stuart Scheinkman on behalf of FACEBOOK,
                  INC. (Scheinkman, Michael) (Entered: 05/31/2023)
05/31/2023   38   MOTION to Enforce the Stipulated Order and to Enjoin the Administrative Reopening
                  Proceeding of the Federal Trade Commission by FACEBOOK, INC.. (Attachments: #
                  1 Memorandum in Support, # 2 Declaration of James P. Rouhandeh in Support, # 3
                  Exhibit A, # 4 Exhibit B, # 5 Exhibit C, # 6 Exhibit D, # 7 Exhibit E, # 8 Exhibit F, # 9
                  Exhibit G, # 10 Exhibit H, # 11 Exhibit I, # 12 Exhibit J, # 13 Exhibit K, # 14 Exhibit
                  L, # 15 Exhibit M, # 16 Exhibit N, # 17 Exhibit O, # 18 Exhibit P, # 19 Exhibit Q, # 20
                  Text of Proposed Order, # 21 Certificate of Service)(Rouhandeh, James) (Entered:
                  05/31/2023)
05/31/2023   39   NOTICE of Filing of Exhibit in Disk Format Pursuant to Local Rule 5.4(e) by
                  FACEBOOK, INC. (Rouhandeh, James) (Entered: 05/31/2023)
05/31/2023   40   NOTICE of Appearance by Zachary Cowan on behalf of UNITED STATES OF
                  AMERICA (Cowan, Zachary) (Entered: 05/31/2023)
06/01/2023   41   NOTICE OF Appearance by Adam R. Pulver on behalf of CAMPAIGN FOR A
                  COMMERCIAL−FREE CHILDHOOD, COMMON SENSE MEDIA, PUBLIC
                  CITIZEN, INC., UNITED STATES PUBLIC INTEREST RESEARCH GROUP, INC.
                  (Pulver, Adam) Modified on 6/7/2023 to correct event/ docket text (zjm). (Entered:
                  06/01/2023)


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06/01/2023        MINUTE ORDER: Upon consideration of Defendant's 38 motion to enforce and for
                  preliminary injunctive relief, it is hereby ORDERED that, by June 6, 2023, the parties
                  shall meet, confer, and file a joint status report proposing a briefing schedule as well as
                  three potential dates for a hearing on Defendant's 38 motion. The United States shall
                  also indicate, for scheduling purposes, whether it expects the deadline for Defendant to
                  respond to the FTC's order to show cause to be further extended, in light of the
                  complex and significant issues raised in Defendant's 38 motion. Signed by Judge
                  Timothy J. Kelly on 6/1/2023. (lctjk1) (Entered: 06/01/2023)
06/02/2023   42   ENTERED IN ERROR.....NOTICE OF WITHDRAWAL OF APPEARANCE as to
                  FACEBOOK, INC.. Attorney Olivia Arden Adendorff terminated. (Snyder, Orin)
                  Modified on 6/5/2023 (ztth). (Entered: 06/02/2023)
06/02/2023   43   NOTICE OF WITHDRAWAL OF APPEARANCE as to FACEBOOK, INC.. Attorney
                  Orin Samuel Snyder terminated. (Snyder, Orin) (Entered: 06/02/2023)
06/02/2023   44   NOTICE OF WITHDRAWAL OF APPEARANCE as to FACEBOOK, INC.. Attorney
                  Joshua Seth Lipshutz terminated. (Lipshutz, Joshua) (Entered: 06/02/2023)
06/02/2023   45   NOTICE OF WITHDRAWAL OF APPEARANCE as to FACEBOOK, INC.. Attorney
                  Thomas G. Hungar terminated. (Hungar, Thomas) (Entered: 06/02/2023)
06/05/2023        NOTICE OF ERROR regarding 42 Notice of Withdrawal of Appearance. The
                  following error(s) need correction: Notice of withdrawal must be signed and filed by
                  the withdrawing attorney and signed by the party/parties represented (LCvR 83.6(b)).
                  (ztth) (Entered: 06/05/2023)
06/06/2023   46   Joint STATUS REPORT by FACEBOOK, INC.. (Rouhandeh, James) (Entered:
                  06/06/2023)
06/07/2023        MINUTE ORDER: Upon consideration of the parties' 46 Joint Status Report, it is
                  hereby ORDERED that the Government shall respond to Defendant's 38 motion to
                  enforce and for preliminary injunctive relief by August 16, 2023, and Defendant shall
                  reply by September 13, 2023. However, the parties are further ORDERED to, by June
                  12, 2023, file another joint status report proposing three available dates for a hearing
                  the week of October 16, 2023, as the Court expects to be in trial from September 27
                  through October 13. Signed by Judge Timothy J. Kelly on 6/7/2023. (lctjk1) (Entered:
                  06/07/2023)
06/12/2023   47   Joint STATUS REPORT by FACEBOOK, INC.. (Rouhandeh, James) (Entered:
                  06/12/2023)
06/13/2023        MINUTE ORDER: Upon consideration of the parties' 47 Joint Status Report, it is
                  hereby ORDERED that the parties shall appear for a hearing on Defendant's 38 motion
                  to enforce and for preliminary injunctive relief on October 17, 2023 at 9:30 a.m. in
                  Courtroom 11. Signed by Judge Timothy J. Kelly on 6/13/2023. (lctjk1) (Entered:
                  06/13/2023)
06/29/2023   48   NOTICE of Appearance by Katherine M. Ho on behalf of UNITED STATES OF
                  AMERICA. (ztnr) (Entered: 06/29/2023)
08/16/2023   49   Memorandum in opposition to re 38 Motion to Enforce,, filed by UNITED STATES
                  OF AMERICA. (Attachments: # 1 Text of Proposed Order)(Cowan, Zachary) (Entered:
                  08/16/2023)
09/13/2023   50


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                  NOTICE of Appearance by Paul Nathanson on behalf of FACEBOOK, INC.
                  (Nathanson, Paul) (Entered: 09/13/2023)
09/13/2023   51   MOTION for Leave to Appear Pro Hac Vice :Attorney Name− David B. Toscano,
                  Filing fee $ 100, receipt number ADCDC−10349883. Fee Status: Fee Paid. by
                  FACEBOOK, INC.. (Attachments: # 1 Declaration of David Toscano, # 2 Supplement
                  Certificate of Good Standing, # 3 Text of Proposed Order)(Rouhandeh, James)
                  (Entered: 09/13/2023)
09/13/2023   52   MOTION for Leave to Appear Pro Hac Vice :Attorney Name− John A. Atchley III,
                  Filing fee $ 100, receipt number ADCDC−10349885. Fee Status: Fee Paid. by
                  FACEBOOK, INC.. (Attachments: # 1 Declaration of John A. Atchley III, # 2
                  Supplement Certificate of Good Standing, # 3 Text of Proposed Order)(Rouhandeh,
                  James) (Entered: 09/13/2023)
09/13/2023   53   REPLY to opposition to motion re 38 MOTION to Enforce the Stipulated Order and to
                  Enjoin the Administrative Reopening Proceeding of the Federal Trade Commission
                  filed by FACEBOOK, INC.. (Attachments: # 1 Declaration of James P. Rouhandeh, #
                  2 Exhibit R, # 3 Exhibit S, # 4 Exhibit T, # 5 Exhibit U, # 6 Certificate of
                  Service)(Rouhandeh, James) (Entered: 09/13/2023)
09/15/2023        MINUTE ORDER granting Defendant's 51 , 52 Motions for Leave to Appear Pro Hac
                  Vice. Attorneys David B. Toscano and John A. Atchley III are hereby admitted pro hac
                  vice to appear in this matter. Counsel should register for e−filing via PACER and
                  file a notice of appearance pursuant to LCvR 83.6(a) Click for instructions. Signed
                  by Judge Timothy J. Kelly on 9/15/2023. (lctjk1) (Entered: 09/15/2023)
09/27/2023   54   NOTICE of Appearance by David B. Toscano on behalf of FACEBOOK, INC.
                  (Toscano, David) (Entered: 09/27/2023)
09/27/2023   55   NOTICE of Appearance by John A. Atchley III on behalf of FACEBOOK, INC.
                  (Atchley III, John) (Entered: 09/27/2023)
10/10/2023   56   Unopposed MOTION to Permit Presentation by Two Government Attorneys During
                  Hearing on Motion to Enforce by UNITED STATES OF AMERICA. (Attachments: #
                  1 Text of Proposed Order)(Ho, Katherine) (Entered: 10/10/2023)
10/11/2023        MINUTE ORDER granting the Government's 56 Unopposed Motion to Permit
                  Presentation by Two Government Attorneys During Hearing on Motion to Enforce. It
                  is hereby ORDERED that the Government's unopposed motion is GRANTED and that
                  Zachary Cowan and Katherine Ho may address the Court at the hearing on Defendant's
                  38 motion to enforce. Signed by Judge Timothy J. Kelly on 10/11/2023. (lctjk1)
                  (Entered: 10/11/2023)
10/17/2023        Minute Entry for proceedings held before Judge Timothy J. Kelly: Motion Hearing
                  held on 10/17/2023. Oral Argument heard on Defendant's 38 MOTION to Enforce, and
                  taken under advisement. (Court Reporter: Timothy Miller) (zkh) (Entered: 10/17/2023)
10/24/2023   57   TRANSCRIPT OF MOTION HEARING before Judge Timothy J. Kelly held on
                  10−17−23; Page Numbers: 1−75; Date of Issuance: 10−24−23; Court Reporter:
                  Timothy R. Miller, Telephone Number (202) 354−3111. Transcripts may be ordered by
                  submitting the Transcript Order Form

                  For the first 90 days after this filing date, the transcript may be viewed at the
                  courthouse at a public terminal or purchased from the court reporter referenced above.


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                  After 90 days, the transcript may be accessed via PACER. Other transcript formats,
                  (multi−page, condensed, CD or ASCII) may be purchased from the court reporter.

                  NOTICE RE REDACTION OF TRANSCRIPTS: The parties have twenty−one
                  days to file with the court and the court reporter any request to redact personal
                  identifiers from this transcript. If no such requests are filed, the transcript will be made
                  available to the public via PACER without redaction after 90 days. The policy, which
                  includes the five personal identifiers specifically covered, is located on our website at
                  www.dcd.uscourts.gov.

                  Redaction Request due 11/14/2023. Redacted Transcript Deadline set for 11/24/2023.
                  Release of Transcript Restriction set for 1/22/2024.(Miller, Timothy) (Entered:
                  10/24/2023)
11/16/2023   58   NOTICE OF SUPPLEMENTAL AUTHORITY by UNITED STATES OF AMERICA
                  (Attachments: # 1 Supplement)(Cowan, Zachary) (Entered: 11/16/2023)
11/17/2023   59   NOTICE OF SUPPLEMENTAL AUTHORITY by FACEBOOK, INC. (Rouhandeh,
                  James) (Entered: 11/17/2023)
11/20/2023   60   Joint STATUS REPORT by FACEBOOK, INC.. (Rouhandeh, James) (Entered:
                  11/20/2023)
11/27/2023   61   ORDER denying Defendant's 38 Motion to Enforce. See Order for details. Signed by
                  Judge Timothy J. Kelly on 11/27/2023. (lctjk1) (Entered: 11/27/2023)
11/27/2023   62   MEMORANDUM OPINION in support of the Court's 61 Order denying Defendant's
                  38 Motion to Enforce. Signed by Judge Timothy J. Kelly on 11/27/2023. (lctjk1)
                  (Entered: 11/27/2023)
11/28/2023   63   NOTICE OF APPEAL TO DC CIRCUIT COURT as to 62 Memorandum & Opinion,
                  61 Order on Motion to Enforce by FACEBOOK, INC.. Filing fee $ 505, receipt
                  number ADCDC−10520989. Fee Status: Fee Paid. Parties have been notified.
                  (Rouhandeh, James) (Entered: 11/28/2023)




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                      IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA,

                      Plaintiff,

                      v.                               Case No. 1:19-cv-02184-TJK
FACEBOOK, INC.,
a corporation,

                      Defendant.



                                    NOTICE OF APPEAL

       PLEASE TAKE NOTICE that Defendant Meta Platforms, Inc. (f/k/a Facebook, Inc.), by

and through its undersigned counsel of record, hereby appeals to the United States Court of

Appeals for the District of Columbia Circuit from the Memorandum Opinion and Order (Dkt.

Nos. 61, 62) entered in this action on November 27, 2023.




DATED: November 28, 2023                         Respectfully submitted,

                                                  /s/ James P. Rouhandeh
                                                  James P. Rouhandeh
                                                  (D.C. Bar No. NY0390)
                                                  DAVIS POLK & WARDWELL LLP
                                                  450 Lexington Avenue
                                                  New York, New York 10017
                                                  Tel. (212) 450-4835
                                                  rouhandeh@davispolk.com

                                                  Counsel for Defendant




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                           UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA


UNITED STATES OF AMERICA,

              Plaintiff,

       v.                                        Civil Action No. 19-2184 (TJK)

FACEBOOK, INC.,

              Defendant.


                                         ORDER

      For the reasons set forth in the Court’s accompanying memorandum opinion, it is hereby

ORDERED that Defendant’s Motion to Enforce the Stipulated Order and to Enjoin the Adminis-

trative Reopening Proceeding of the Federal Trade Commission, ECF No. 38, is DENIED.

      SO ORDERED.

                                                        /s/ Timothy J. Kelly
                                                        TIMOTHY J. KELLY
                                                        United States District Judge

Date: November 27, 2023




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                             UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLUMBIA


UNITED STATES OF AMERICA,

                Plaintiff,

        v.                                             Civil Action No. 19-2184 (TJK)
FACEBOOK, INC.,

                Defendant.


                                  MEMORANDUM OPINION

       In July 2012, the Federal Trade Commission and Defendant Facebook, Inc.—now known

as Meta Platforms, Inc.—resolved an administrative proceeding over Defendant’s alleged unfair

and deceptive business practices relating to user privacy through the FTC’s entry of an adminis-

trative decision and order. Among other things, the 2012 administrative order mandated that De-

fendant maintain a comprehensive privacy program. In July 2019, the FTC accused Defendant of

violating the administrative order and committing related violations of law, and the Department of

Justice filed this suit to seek civil penalties and injunctive relief. In April 2020, the Court entered

the parties’ Stipulated Order that imposed $5 billion in civil penalties against Defendant and di-

rected Defendant to consent to the FTC’s reopening of its administrative proceedings to modify

the 2012 administrative order. The FTC did so soon after. Under the Stipulated Order, the Court

retained jurisdiction for purposes of the Stipulated Order’s construction, modification, and en-

forcement.

       Earlier this year, however, the FTC ordered Defendant to show cause why the 2020 admin-

istrative order should not be modified, because of Defendant’s additional alleged violations of the

2012 administrative order, violations of the 2020 administrative order, and related alleged




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violations of law. In response, Defendant moves to enforce the Stipulated Order and enjoin the

FTC from reopening the administrative proceedings against it on both a preliminary and permanent

basis.

         For the reasons explained below, the Court finds that the obligations imposed on Defendant

through the FTC’s 2020 administrative order, although set forth in an attachment to the Stipulated

Order, were not made part of the Stipulated Order itself. As a result, the Court lacks jurisdiction

over claims related to potential changes to the 2020 administrative order and the FTC’s authority

to reopen its proceedings and modify that order, because those claims do not involve the construc-

tion, modification or enforcement of the Stipulated Order. Moreover, Defendant’s remaining

claim that the FTC might make a small change to the 2020 administrative order that is inconsistent

with the Stipulated Order does not warrant preliminary injunctive relief. Thus, as explained below,

Defendant’s motion will be denied.

I.       Background

         In 2011, the FTC filed an administrative complaint against Defendant, alleging “unfair and

deceptive” privacy practices in violation of the FTC Act, 15 U.S.C. § 45(a). See In the Matter of

Facebook, Inc., No. C-4365, 2012 WL 3518628 (F.T.C.) (July 27, 2012) (“2012 Action”). As part

of the settlement of that action, in July 2012 the FTC entered an administrative order requiring,

among other things, that Defendant maintain a comprehensive privacy program. ECF No. 3

(“Compl.”) ¶¶ 28–33; 2012 Action.

         In July 2019, the FTC accused Defendant of violating the 2012 administrative order and

committing related violations of the FTC Act, and the DOJ filed this suit to seek civil penalties

and injunctive relief. Compl. ¶¶ 1, 43–48, 155–90. In April 2020, the Court entered the Stipulated

Order the parties proposed to resolve the suit. The Stipulated Order imposed $5 billion in civil

penalties against Defendant. ECF No. 4-1 at 3. It also ordered Defendant to “consent to:


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(i) reopening of the proceeding in FTC Docket No. C-4365; (ii) waiver of its rights under the show

cause procedures set forth in Section 3.72(b) of the Commission’s Rules of Practice, 16 C.F.R.

§ 3.72(b); and (iii) modifying the Decision and Order in In re Facebook, Inc., C-4365, 2012 FTC

LEXIS 135 (F.T.C. July 27, 2012), with the Decision and Order set forth in Attachment A.” Id. at

4. Attachment A to the Stipulated Order was a proposed administrative order that, once adopted

by the FTC, would replace the 2012 administrative order. Id. at 9–30. The Court reviewed the

terms of the parties’ proposal and found that the parties had consented to it and that it was fair,

reasonable, and in the public interest. ECF No. 34 at 8–17. Thus, in April 2020, the Court entered

the Stipulated Order and closed the case. ECF No. 35. The Stipulated Order provided that the

Court would “retain jurisdiction in this matter for purposes of construction, modification, and en-

forcement of this Stipulated Order.” Id. at 5.

        Not long afterward, the FTC issued an order summarizing the proceedings here and “de-

termined that it is in the public interest to reopen the proceeding . . . pursuant to Commission Rule

3.72(b), 16 C.F.R. § 3.72(b), and to issue a new order.” ECF No. 38-11 at 2. Thus, the FTC

reopened its administrative proceedings and modified the 2012 administrative order by replacing

it with Attachment A, which then became the 2020 administrative order. Id. at 2–24. Two of the

five FTC commissioners dissented from the FTC’s decision to issue the 2020 administrative order.

Id. at 2.

        About three years passed. Then in May 2023, the FTC invoked its reopening authority

under 15 U.S.C. § 45(b) and issued an order directing Defendant to show cause why the 2020

administrative order should not be modified because of additional alleged violations by Defendant

of the 2012 administrative order, violations of the 2020 administrative order, and related alleged

violations of the FTC Act.      ECF No. 38-4.        The show-cause order proposed far-reaching




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modifications to the 2020 administrative order that the FTC says are intended to “strengthen and

enhance” the order’s protections. Id. at 13. For example, the proposed modifications include new

provisions (1) limiting Defendant’s use of information collected from minors, (2) prohibiting De-

fendant from introducing any new products or features pending its privacy program coming into

full compliance with the order, and (3) extending the application of the order’s existing provisions

to Defendant’s use of facial recognition technology. Id. at 13–14. The FTC directed Defendant

to respond within 30 days and said it would “first consider [Defendant’s] Answer and then deter-

mine what process is appropriate to resolve any issues that arise from that Answer,” and eventually

“determine whether to make the [proposed modification] final or modify it in any way.” Id. at 2.

       Rather than answer the FTC’s show-cause order, though, Defendant moved this Court to

enforce the Stipulated Order and enjoin the FTC from reopening administrative proceedings

against it on both a preliminary and permanent basis. ECF No. 38. The FTC extended Defendant’s

deadline to answer to allow the Court to consider the motion. ECF No. 53 at 32.

       Defendant’s argument is three-fold. First, it argues, because this Court retains exclusive

jurisdiction over the Stipulated Order “for purposes of [its] construction, modification, and en-

forcement,” the FTC cannot modify the 2020 administrative order through its proposed adminis-

trative proceedings. ECF No. 38-1 at 25–29. And, it says, the Stipulated Order is a “final judg-

ment” which can only be modified under Rule 60 of the Federal Rules of Civil Procedure, and for

the FTC to modify the Stipulated Order on its own would both exceed its reopening authority

under Section 5(b) and violate Article III. Id. at 29–36. Second, because the FTC’s proposal is

unmoored from the 2020 administrative order, the scope of such a modification would, likewise,

exceed the FTC’s statutory and regulatory authority to “alter, modify, or set aside” its orders. Id.

at 36–41; see also 15 U.S.C. § 45(b); 16 C.F.R. 3.72(b). Third, Defendant brings a series of




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constitutional challenges to both the structure of the FTC and its exercise of its reopening authority

in this case. Id. at 41–53. In light of these claims, Defendant seeks a preliminary injunction under

the All Writs Act which it says does not require a showing of irreparable harm. Id. at 53. In the

alternative, it also argues that there would be irreparable harm should it have to participate in an

unconstitutional administrative proceeding. Id. at 53–54.

II.    Legal Standards

       Federal courts are courts of limited jurisdiction. See Gen. Motors Corp. v. EPA, 363 F.3d

442, 448 (D.C. Cir. 2004) (“As a court of limited jurisdiction, we begin, and end, with an exami-

nation of our jurisdiction.”). The law presumes that “a cause lies outside [the Court’s] limited

jurisdiction” unless the party asserting jurisdiction establishes otherwise. Kokkonen v. Guardian

Life Ins. Co. of Am., 511 U.S. 375, 377 (1994). Federal courts, accordingly, have an “independent

obligation to ensure that they do not exceed the scope of their jurisdiction” and “must raise and

decide jurisdictional questions that the parties either overlook or elect not to press.” Henderson

ex rel. Henderson v. Shinseki, 562 U.S. 428, 434 (2011). District courts have “original jurisdiction

of all civil actions arising under the Constitution, laws, or treaties of the United States.” 28 U.S.C.

§ 1331. Congress, however, has implicitly divested district courts of that jurisdiction when a party

seeks review of an order of the FTC, 15 U.S.C. § 45, except where claims are not “of the type” the

statutory review scheme reaches, such as “claims that the structure, or even existence, of an agency

violates the Constitution,” Axon Enter., Inc. v. FTC, 598 U.S. 175, 188–96 (2023).

       A preliminary injunction is “an extraordinary remedy that may only be awarded upon a

clear showing that the plaintiff is entitled to such relief.” Winter v. Nat. Res. Def. Council, Inc.,

555 U.S. 7, 22 (2008). The movant must establish that “he is likely to succeed on the merits, that

he is likely to suffer irreparable harm in the absence of preliminary relief, that the balance of eq-

uities tips in his favor, and that an injunction is in the public interest.” Id. at 20. This Circuit’s


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precedent suggests that these factors may be evaluated on a “sliding scale,” and that “an unusually

strong showing on one of the factors” may compensate for a subpar showing on another. Davis v.

Pension Benefit Guar. Corp., 571 F.3d 1288, 1291–92 (D.C. Cir. 2009) (cleaned up). But after

Winter, the Circuit has suggested without deciding that a plaintiff must independently establish

both likelihood of success on the merits and irreparable harm. See, e.g., Sherley v. Sebelius, 644

F.3d 388, 392 (D.C. Cir. 2011). Even so, showing irreparable harm is a “non-negotiable hurdle”

for preliminary injunctive relief. Cal. Ass’n. of Priv. Postsecondary Schs. v. Devos (CAPPS), 344

F. Supp. 3d 158, 167 (D.D.C. 2018). “A movant’s failure to show any irreparable harm is . . .

grounds for refusing to issue a preliminary injunction, even if the other three factors entering the

calculus merit such relief.” Chaplaincy of Full Gospel Churches v. England, 454 F.3d 290, 297

(D.C. Cir. 2006).

III.   Analysis

       The Court’s retained jurisdiction is limited to the “construction, modification, and enforce-

ment” of the Stipulated Order. But despite Defendant’s attempts to retroactively characterize At-

tachment A as part of that Order, the obligations imposed on Defendant reflected in that attachment

were not ordered by the Court or made part of the Stipulated Order—they were imposed later,

when the FTC issued its 2020 administrative order. For that reason, the FTC’s proposed changes

to its administrative order do not fall within the Court’s jurisdiction over the construction, modifi-

cation or enforcement of the Stipulated Order. Thus, the Court has no jurisdiction to reach De-

fendant’s claims that are based on potential changes to the 2020 administrative order or the pro-

priety of the administrative process that might lead to those changes. The Court will deny Defend-

ant’s motion for that reason. To the extent Defendant challenges the FTC’s show-cause order and

the changes it seeks to make to the 2020 administrative order, it must do so through a separate suit

and plead a separate basis for that court’s jurisdiction.


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       That leaves only a small sliver of Defendant’s claims over which the Court has jurisdiction:

those relating to any potential inconsistency with the Stipulated Order that might arise from

changes the FTC makes to the 2020 administrative order. Defendant has identified only one, over

which government officials may be involved in picking the independent assessor of Defendant’s

privacy program. But Defendant does not explain how the mere possibility of this inconsistency

with the Stipulated Order would subject it to irreparable harm without a preliminary injunction.

Thus, for that reason, its motion on this claim will be denied without prejudice. If the FTC does

end up entering an administrative order that is inconsistent with the Stipulated Order on the issue

of who may be involved in the selection of the assessor, Defendant may, at that point, move to

enforce the Stipulated Order.

       A.      This Court Does Not Have Enforcement Jurisdiction over the FTC’s 2020 Ad-
               ministrative Order

       The threshold question is whether this Court has retained jurisdiction to enforce Attach-

ment A, which was later issued by the FTC as the 2020 administrative order. In Kokkonen, the

Supreme Court laid out the relevant legal principles when resolving a similar dispute. See 511

U.S. 375. There, the parties reached an oral settlement recited on the record before the district

court, which then entered a stipulated order dismissing the case. Id. at 376–77. A dispute later

arose as to certain obligations under the settlement agreement, and one of the parties moved the

district court to enforce the agreement, which it did. Id. at 377. The Supreme Court reversed. Id.

at 382. The Court instructed that “[e]nforcement of [a] settlement agreement . . . is more than just

a continuation or renewal of the dismissed suit, and hence requires its own basis for jurisdiction.”

Id. at 378. And because “the parties’ obligation to comply with the terms of the settlement agree-

ment” had not been “made part of the order of dismissal—either by separate provision (such as a

provision ‘retaining jurisdiction’ over the settlement agreement) or by incorporating the terms of



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the settlement agreement in the order,” a breach of the agreement would not violate the order, and

the court had no ancillary jurisdiction to enforce the agreement. Id. at 381. Thus, the Court dis-

tinguished between the settlement agreement and the district court’s dismissal order, and held that

the former is not incorporated into the latter just because of the “judge’s mere awareness and ap-

proval of the terms of the settlement agreement,” but that it must have affirmatively been “made

part of the order” in some way. Id.

       In Kokkonen, the parties’ breach-of-contract dispute arose under state law, so the district

court needed ancillary jurisdiction to address those claims as part of an enforcement action which,

otherwise, could not have been brought in federal court. Here, the stakes are slightly different:

Defendant’s purported claims sound in federal law, so they could be brought in federal court. 1

Still, the same “principle underlying” Kokkonen applies: after the claims in a case are resolved, a

court’s enforcement jurisdiction turns on whether it “incorporate[d] the settlement terms into the

dismissal order or otherwise expressly retain[ed] jurisdiction to enforce the settlement agreement.”

DC Soccer, LLC v. CapX Off. Sols., LLC, No. 19-cv-3163 (BAH), 2021 WL 1061206, at *3

(D.D.C. Mar. 18, 2021) (citing Kokkonen, 511 U.S. at 381–82). In other words, because the

Court’s “jurisdiction to enforce consent decrees” is not “free-ranging,” it is “constrained by the

terms of the decree and related order.” Pigford v. Veneman, 292 F.3d 918, 924 (D.C. Cir. 2002)

(citing Kokkonen, 511 U.S. at 381); see also id. at 925 (“Who would sign a consent decree if district

courts had free-ranging interpretive or enforcement authority untethered from the decree’s negoti-

ated terms?”). Thus, when “[p]laintiffs[] attempt to enforce the settlement agreement, absent a

court order retaining jurisdiction” over that agreement, enforcement “is therefore a new action,


       1
         Though, the Court notes, Congress has divested it of jurisdiction to hear a petition for
review of an FTC order, 15 U.S.C. § 45(c), except where claims are not “of the type” the statutory
review scheme reaches, Axon, 598 U.S. at 188–96.



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which is unmoored from the underlying dispute and requires the filing of a new complaint.” DC

Soccer, LLC, No. 19-cv-3163 (BAH), 2021 WL 1061206, at *5 (citing Fed. R. Civ. P. 3, 7); cf.

Dailey v. Park, 468 F. Supp. 2d 209, 213 (D.D.C. 2007) (“Without a formal judicial act, the parties’

agreement remains a privately created agreement between two parties who happen to be litigating

a wholly different issue in this court.”).

        Applying Kokkonen’s principle here, the question is whether Attachment A was “made part

of” the Stipulated Order such that the Court retained enforcement jurisdiction over the FTC’s 2020

administrative order. The answer is no. The Stipulated Order directed Defendant to pay $5 billion

in civil money penalties and “consent to” the FTC’s reopening of its administrative proceedings

and modification of its 2012 administrative order with Attachment A. ECF No. 35 at 3–4. But

the Court did not order Defendant to comply with the terms of Attachment A, nor order the FTC

to do anything. Id. Instead, a few days after the Court made its ruling, the FTC issued an order

“determin[ing] that it [was] in the public interest to reopen the proceeding” and, by a 3-2 vote,

modified the 2012 administrative order with Attachment A, noting that Defendant had consented

to such action. ECF No. 38-11 at 2. Especially because two Commissioners felt free to dissent

from that determination, the need for that separate proceeding all but confirms that “the parties’

obligation to comply with the terms of” Attachment A had not been “made part of” the Court’s

Stipulated Order. Kokkonen, 511 U.S. at 381. Thus, although the Court “retain[ed] jurisdiction in

this matter for purposes of construction, modification, and enforcement of [the] Stipulated Order,”

that jurisdiction does not extend to Attachment A, or the FTC’s 2020 administrative order. ECF

No. 35 at 5. 2



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          Just recently, another court interpreting an identical provision came to the same conclu-
sion, reasoning that the court’s order to consent to the modification of a previous FTC order with



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       Defendant argues to the contrary, but to no avail. To begin, it says that the Stipulated Order

must have incorporated Attachment A because an “order granting an injunction” cannot “refer[]

to [any] other document.” ECF No. 38-1 at 27 (alterations in original) (quoting Fed. R. Civ. P.

65(d)(1)). But Rule 65(d)(1) requires only that such an order “describe in reasonable detail—and

not by referring to the complaint or other document—the act or acts restrained or required.” The

Stipulated Order did so when it ordered Defendant to consent to the FTC’s reopening of its admin-

istrative proceedings and the modification of the 2012 administrative order. That much—the only

injunctive relief it ordered—the Court “describe[d] in reasonable detail” without the aid of Attach-

ment A.

       Defendant also argues that the terms of Attachment A itself suggest that its obligations

were made part of the Court’s order in some way. Defendant makes much of the lack of language

in Attachment A that expressly reaffirms the FTC’s modification authority, arguing that this re-

flects an implicit understanding of the parties that the 2020 administrative order was part of the

Stipulated Order and could only be modified by the Court. See ECF No. 53 at 21 & n.9. But

Defendant assigns far more weight to this absence than it can bear. The parties drafted Attachment

A against a statutory backdrop in which “the Commission may at any time, after notice and op-

portunity for hearing, reopen and alter, modify, or set aside, in whole or in part any report or order

made or issued by it under this section, whenever in the opinion of the Commission conditions of

fact or of law have so changed as to require such action or if the public interest shall so re-

quire . . . .” 15 U.S.C. § 45(b). And nothing in Attachment A—or the Stipulated Order, for that

matter—expressly limits the FTC’s statutory authority to modify its own administrative orders.


an attached replacement “sped up the issuance of the Administrative Order, but it does not mean
that the Administrative Order became a Court order.” United States v. Twitter, Inc., No. 22-cv-
3070-TSH, 2023 WL 8007994, at *6 (N.D. Cal. Nov. 16, 2023).



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See ECF No. 35. Under these circumstances, and because Attachment A, by its own terms, had to

be adopted and issued by the FTC to be effective, the Court cannot construe silence as a waiver of

the FTC’s statutory right. See George Banta Co., Inc., Banta Div. v. NLRB, 686 F.2d 10, 20 (D.C.

Cir. 1982) (reasoning that “the waiver of statutory rights must be demonstrated by an express

statement in the contract to that effect,” and “[e]ven explicit language will not be read expansively”

(internal quotation marks and citations omitted)); FTC v. Ruberoid Co., 343 U.S. 470, 475–76

(1952) (reasoning that provisions of the FTC Act “necessarily” remain “implicit in every order

issued under the authority of the Act, just as if the order set them out in extenso”); see also Dolcin

Corp. v. FTC, 219 F.2d 742, 750 (D.C. Cir. 1954).

       Moreover, Attachment A is not entirely mute on modification. The parties specified that

Defendant may “seek modification” of certain parts of the administrative order “pursuant to 15

U.S.C. § 45(b) and 16 C.F.R. § 2.51(b)”—i.e., those provisions authorizing the FTC to reopen

administrative proceedings and modify its own orders—“to address relevant developments that

affect compliance.” ECF No. 35 at 14; ECF No. 38-11 at 8. This provision reaffirms, rather than

undermines, an understanding that Attachment A was not part of the Stipulated Order, because it

contemplates that at least under some circumstances, the FTC could modify its administrative or-

der without the Court’s consent.

       Defendant also seizes on part of the “findings” in Attachment A, which reads: “This Court

has jurisdiction over this matter.” ECF No. 35 at 9; ECF No. 38-11 at 3. No doubt it is a curious

phrase. Neither party’s explanation for it is persuasive, except perhaps as much as the Government

concedes it may be a scrivener’s error. October 17, 2023 Hr’g Tr. 44:1–4. The Government con-

tends that “this Court” really means the FTC. It was the FTC, it argues, that ultimately entered the

2020 administrative order and—though the choice of words may seem odd—the FTC “is referred




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to as an administrative court when it adjudicates.” ECF No. 49 at 24 & n.7. But given that the

FTC is at no other point in the order called a “court,” this Court is unconvinced that the phrase was

used—at least intentionally—to describe the FTC. Defendant’s explanation that, to the contrary,

the phrase refers to this Court fares no better. Read in context with the immediately preceding

line, the relevant provision is as follows: “the Commission issues its Complaint, makes the follow-

ing Findings, and issues the following Order: (1) This Court has jurisdiction over this matter.”

ECF No. 35 at 9; ECF No. 38-11 at 3. The use of the word “this” before “Court” strongly suggests

that it refers to the body entering the order, the FTC. In the end, the Court holds that whatever the

phrase was supposed to mean, it does not mean this Court. Thus, the phrase does not suggest that

Attachment A was part of the Stipulated Order.

       Finally, Defendant points to the parties’ comments during this litigation. At one point, the

Government “respectfully request[ed] that . . . this Court enter the Stipulated Order and effectuate

the comprehensive settlement negotiated by the parties,” and the FTC issued a statement “regard-

ing the Federal Court’s approval” of the “conduct relief” in the settlement. ECF No. 53 at 17

(citations omitted) (emphasis omitted). But these references reflect only that the Court “approved”

Attachment A insofar as it needed to satisfy itself of the settlement’s overall fairness. ECF No. 34

at 6–17. As the Supreme Court held, “[t]he judge’s mere awareness and approval of the terms of

the settlement agreement do not suffice to make them part of his order.” Kokkonen, 511 U.S. at

381. So too here. 3

       In sum, the Court’s retained jurisdiction does not extend to Attachment A, or the terms of

the FTC’s 2020 administrative order. Thus, any claims about the modifications the FTC may make



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          Nor are the terms of the FTC’s 2020 administrative order a “final judgment” with res
judicata effect; they were not ordered by the Court at all.



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to that order do not fall within the Court’s retained jurisdiction, because such modifications do not

involve the construction, modification or enforcement of the Stipulated Order. And for the same

reasons, the Court has no jurisdiction over any claims that challenge the process through which

the FTC seeks to do so.

       This conclusion may appear to some, as Defendant calls it, “the height of empty formal-

ism.” ECF No. 53 at 23. But in general, as a federal court of “limited jurisdiction,” this Court

possesses “only that power authorized by Constitution and statute, which is not to be expanded by

judicial decree.” Kokkonen, 511 U.S. at 377 (citations omitted). And under Kokkonen, a court

retains jurisdiction to enforce only what it ordered, rather than the terms of a related settlement

agreement that was not “made part of” its order. Put another way, to do more would exceed the

Court’s jurisdiction ancillary to an enforcement action which, “at its core,” is “a creature of neces-

sity.” Peacock v. Thomas, 516 U.S. 349, 359 (1996). The Court will not distend the bounds of its

own limited enforcement jurisdiction to adjudicate the merits of a case or controversy not properly

before it. Cf. Pac. Radiation Oncology, LLC v. Queen’s Med. Ctr., 810 F.3d 631, 633 (9th Cir.

2015) (concluding that “the court does not have the authority to issue an injunction” when “a

plaintiff seeks injunctive relief based on claims not pled in the complaint” because “[a] court’s

equitable power lies only over the merits of the case or controversy before it”).

       Finally, the Court notes that the parties here are sophisticated ones that, at least in theory,

could have proceeded differently. “If the parties wish[ed] to provide for the court’s enforcement”

of the terms of Attachment A, “they [could have sought] to do so” had they made “the parties’

compliance with the terms” of Attachment A “one of the terms set forth in the order.” Kokkonen,

511 U.S. at 381–82; see, e.g., United States v. Amazon.com, Inc., No. 23-cv-811 (TL), ECF No.

29 (W.D. Wash. July 19, 2023) (stipulated order resolving FTC complaint in which the district




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court ordered both monetary and injunctive relief). They didn’t. And the Court may not rewrite

the parties’ agreement to make it so.

       B.      Defendant Will Not Suffer Irreparable Harm Connected to Defendant’s Re-
               maining Claim

       Although the Court lacks jurisdiction over Attachment A and the FTC’s 2020 administra-

tive order, it does “retain jurisdiction in this matter for purposes of construction, modification, and

enforcement of this Stipulated Order.” ECF No. 35 at 5. And Defendant complains that it could

be “subject to the possibility of conflicting obligations between the Stipulated Order, a binding

court judgment, and a new, stand-alone FTC order.” ECF No. 53 at 19. Fair enough. But De-

fendant has identified only one provision in the Stipulated Order itself that conflicts with the FTC’s

proposed modification: one that provides a role for a DOJ official in picking an independent as-

sessor of Defendant’s privacy program. The Stipulated Order provides that Defendant “agrees”

that the DOJ “shall have the . . . same right” as the FTC’s Associate Director for Enforcement “to

approve the person(s) selected to conduct the Assessments described in Part VIII of the Decision

and Order set forth in Attachment A.” ECF No. 35 at 4. On the other hand, the FTC’s proposed

modification would make the authority of the Associate Director for Enforcement to approve the

assessor “in his or her sole discretion,” a scheme necessarily inconsistent with one that would share

that authority with the DOJ. ECF No. 38-5 at 20.

       The problem for Defendant is that this single potential inconsistency with the Stipulated

Order does not warrant any preliminary injunctive relief, let alone an injunction prohibiting the

FTC from reopening its proceedings. A party seeking preliminary relief must “demonstrate that

irreparable injury is likely in the absence of an injunction.” Winter, 555 U.S. at 22. And “[t]o

demonstrate irreparable injury, a plaintiff must show that it will suffer harm that is more than

simply irretrievable; it must also be serious in terms of its effect on the plaintiff.” Hi-Tech



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Pharmacal Co. v. FDA, 587 F. Supp. 2d 1, 11 (D.D.C. 2008) (citation omitted). In other words,

the harm must be “both certain and great; it must be actual and not theoretical,” and “of such

imminence that there is a clear and present need for equitable relief to prevent irreparable harm.”

Wis. Gas Co. v. FERC, 758 F.2d 669, 674 (D.C. Cir. 1985) (citation and emphasis omitted). The

harm, moreover, “must be beyond remediation.” Chaplaincy of Full Gospel Churches, 454 F.3d

at 297.

          Defendant, however, has alleged no harm that would flow from this potential inconsistency

with the Stipulated Order, let alone harm that would justify a preliminary injunction. Nothing

about this potential inconsistency is certain, especially given that the FTC is now on notice that

such a change appears to conflict with the Stipulated Order. Nothing about any harm to Defendant

flowing from this potential inconsistency is “great,” given that in either case, a government official

would be picking the independent assessor. And above all, nothing suggests that any such harm

would be irreparable, given that Defendant could, if an administrative order included this provi-

sion, simply move to enforce the Stipulated Order at that time. 4 See ECF Nos. 38, 53. So Defend-

ants have not shown the need for a preliminary injunction enjoining the FTC from entering an

administrative order including this provision about the selection of the independent assessor.

          Defendant does argue—in connection with its broader argument that the FTC may not

make any changes to the 2020 administrative order because Attachment A is part of the Stipulated

Order—that it would suffer an irreparable “here-and-now” injury merely by being subjected to the

FTC’s allegedly unconstitutional reopening and modification process. ECF No. 38-1 at 41–54;

see Axon, 598 U.S. at 191. But that alleged harm gets Defendant nowhere in connection with this



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         For this reason, Defendant’s motion to enforce the Stipulated Order on this narrow point
will be denied without prejudice.



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potential inconsistency with the Stipulated Order. That is so because, as explained above, the

Court has no jurisdiction over Defendant’s claim that the FTC lacks the authority to reopen its

proceedings and modify the 2020 administrative order. And “a preliminary injunction may not

issue when it is not of the same character as that which may be granted finally and when it deals

with matter outside the issues in the underlying suit.” Sai v. TSA, 54 F. Supp. 3d 5, 8–9 (D.D.C.

2014) (citation omitted); see also De Beers Consol. Mines v. United States, 325 U.S. 212, 220

(1945). A preliminary injunction has a “limited purpose . . . [to] preserve[] the trial court’s power

to adjudicate the underlying dispute by maintaining the status quo ante.” Select Milk Producers,

Inc. v. Johanns, 400 F.3d 939, 954 (D.C. Cir. 2005) (Henderson, J., dissenting). So where “a

preliminary injunction motion seeks temporary relief on claims not pleaded in the complaint”—

or, as here, on claims outside the jurisdiction retained by the Court under the Stipulated Order—

“the court will have no occasion to finally adjudicate those claims on the merits.” Steele v. United

States, No. 14-cv-1523 (RCL), 2020 WL 7123100, at *7 (D.D.C. Dec. 4, 2020) (denying motion

“to enjoin a practice that plaintiffs do not challenge in the operative complaint,” id. at *1); see

Zimmermann v. Epstein Becker & Green, P.C., 657 F.3d 80, 85 (1st Cir. 2011) (“[N]ew . . . claims

against a new set of defendants cannot ride on the coat-tails of the earlier action under the guise of

an enforcement proceeding.”).

                                           *      *      *

       Finally, the All Writs Act cannot salvage Defendant’s motion. That Act gives the Court

power to “issue all writs necessary or appropriate in aid of [its] jurisdiction[].” 28 U.S.C.

§ 1651(a). And “this court has an ‘inherent’ power under the All Writs Act to stay agency action

in order to preserve its prospective jurisdiction.” In re NTE Conn., LLC, 26 F.4th 980, 987 (D.C.

Cir. 2022) (citing Nken v. Holder, 556 U.S. 418, 427 (2009)). But “relief under the All Writs Act




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is an extraordinary remedy that may be invoked only if the statutorily prescribed remedy is clearly

inadequate,” and the same “well established requirements that [are] routinely appl[ied] to motions

for stay pending appeal, among which is the likelihood of irreparable harm,” must still be shown.

Reynolds Metals Co. v. FERC, 777 F.2d 760, 762 (D.C. Cir. 1985). As explained above, as for

claims that turn on Defendant’s argument that Attachment A, and thus the FTC’s 2020 adminis-

trative order, were part of the Stipulated Order, the Court has no jurisdiction over them. The All

Writs Act cannot create jurisdiction when none exists. Clinton v. Goldsmith, 526 U.S. 529, 534–

35 (1999). And as for Defendant’s claim related to the potential inconsistency it identifies between

a future administrate order and the Stipulated Order, it has shown no basis for this Court to invoke

the All Writs Act, including the prospect of suffering irreparable harm because of that potential

inconsistency.

IV.    Conclusion

       For all the above reasons, the Court will deny Defendant’s Motion to Enforce the Stipulated

Order and to Enjoin the Administrative Reopening Proceeding of the Federal Trade Commission,

ECF No. 38. A separate order will issue.


                                                             /s/ Timothy J. Kelly
                                                             TIMOTHY J. KELLY
                                                             United States District Judge
Date: November 27, 2023




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